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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
CASE NO: 23-cr-20359
Plaintiff,
HON. SHALINA D. KUMAR
Vv. United States District Judge

ALAN W. CLARK,

Defendant.

 

DEFENDANT'S ACKNOWLEDGMENT OF INDICTMENT

 

I, Alan W. Clark, defendant in the above-entitled cause, hereby
acknowledge that I have received a copy of the indictment in this cause prior
to pleading thereto, and I have read the same and understand its contents. I
waive it being read aloud in open Court.

I know that if I am convicted or plead guilty, I may be sentenced as
follows:

Count 1: Imprisonment for a maximum of 20 years, to be followed
by a term of supervised release of at least 3 years and/or
a fine of not more than $1,000,000.*, **

*If defendant committed the charged offense after a prior conviction for a
felony drug offense has become final, the defendant shall be sentenced to a
term of imprisonment of not more than 30 years.

**Tf defendant committed the charged offense after a prior conviction for a
felony drug offense has become final, the court shall impose a term of
supervised release of at least 6 years in addition to such term of
imprisonment.
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Dated: 1 2 aR CU. Le/, Cale

ALAN W. CLARK
Defendant

ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that I am counsel for defendant d that I have received

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rmey for Defendant
